Case 2:16-cv-04543-JAK-SK Document 240-17 Filed 02/12/18 Page 1 of 3 Page ID
                                 #:6778




          Exhibit 15 to the Declaration
           of Theodore E. Tsekerides
     Case 2:16-cv-04543-JAK-SK Document 240-17 Filed 02/12/18 Page 2 of 3 Page ID
                                      #:6779
                                                                                                       EXHIBIT

                                                                                                        12
                                                                                               June 17. 2016

        Via Email and Federal Express

        Mr. Eric Schotz
        Chief Executive Officer
        LMNO Cable Group. Inc.
        15821 Ventura Blvd .. Suite 320
        Encino. CA 91436

        Re: 7 Little Jolznstons (Notice of Termination of Attachment, Effective July 2, 2016)

        Dear Mr. Schotz.

        On behalf of Discovery Communications. LLC (""Discovery·· or .. Company .. ). I write further to
        Discovery"s Notice of Preservation and Default dated February 10.2016 (the ··Notice"") relating
        to the program .. 7 Lillle Johnswm·:· All capitalized tenns not otherwise defined herein shall
        have the meaning ascribed to them in the Notice.

       As you know, Discovery"s Notice demanded that LMNO cure the following identified defaults in
       LMNO's performance of its material obligations within 10 days of receipt: (i) failure to deposit
       the Budget Contribution into a segregated bank account set up exclusively for the production of
       7 Lillle .Johnstom·: (ii) commingling the Budget Contribution with other funds which are not
       directly connected with the production of 7 Little Johnston.\·. as set forth in Section 5.2 of Exhibit
       A to the Master: and (iii) failure to .. keep complete books of account sho\ving in detail all
       expenses and charges incurred in the production of the Program:· as required by Section 5.3 of
       Exhibit A to the Master.

       Following the delivery of the Notice. Discovery provided LMNO with an extension of the cure
       period. ultimately allowing LMNO until April 18.2016 to cure the identified defaults. LMNO.
       howe, er. has not only failed to cure the above defaults. but it has also admitted that it failed to
       properly keep its books of account. in plain violation of its material obligations.

       Each of LMNO·s uncured breaches constitutes an .. Event of Default" under Section 12.1 (i) of
       Exhibit A to the Master. Accordingly. this letter constitutes vvritten notice of the termination of
       the Attachment pursuant to Section 12.1 (i) of Exhibit A to the Master. effective July 2.2016.
       This notice of termination does not exclude. limit. or preempt any other remedies available to
       Discovery.

       As set forth in Section 12.3 of Exhibit A to the Master. Discovery hereby demands that LMNO
       .. promptly deliver to [Discovery] all Program Materials of any kind produced as of the date of
       termination" (i.e .. as of July 2.2016). ··as well as all agreements relating thereto. and [Discovery]
       will have all rights under the Agreement in such Program Materials regardless of the stage of
       completion ... All Program Materials relating to 7 li11/e .Johnstom· shall be delivered to

       Page 1 of 2



                                                                     Tsekerides Decl. Ex. 15 Page 299
CONFIDENTIAL                                                                                D1SC000043944
I        Case 2:16-cv-04543-JAK-SK Document 240-17 Filed 02/12/18 Page 3 of 3 Page ID
                                          #:6780




            Discovery v,: ithin two business days of July 2. 2016. Jhamal Robinson
            (Jhamal Robinson(@discovery.com ) \viii be your point of contact for delivery of the materials.
            which should be delivered using the normal delivery process.

            Discovery reserves all of its rights. remedies. positions and defenses under the Agreement and
            applicable law. including but not limited to as relates to Section VIII(K) of the Attachment.


            Sincerely.




            Savalle Sims
            Executive Vice President. Deputy General Counsel

            cc:    Robert Lange. Esq.
                   Stephen R. Mick. Esq.




           Page 2 of 2


                                                                      Tsekerides Decl. Ex. 15 Page 300
    CONFIDENTIAL                                                                                    D1SC000043945
